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                  Becky Degeorge - Registered Agent for 23andMe, Inc.
                  2710 Gateway Oaks Drive,
                  Sacramento, CA 95833




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                                           23ANDME, INC.
                     10/19/23




                                         Nicole Stauss, Client Representative, CSC Lawyers
x                                        Incorporating Service, Registered Agent
                                                                            23ANDME, INC.
                                                               10/19/23




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10/20/23


                                                Michael Morris, Process Server




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